Case 1:04-cr-10079-.]DT Document 38 Filed 05/20/05 Page 1 of 7 Pa?§`|D 50
UN|TED STATES D|STR|CT COURT \@Qj,
WESTERN D|STR|CT OF TENNESSEE O$é, 41 q
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-v- 04-10079-01-T j/(:L§Q;;:"?:Q/O
""3/§<@ 02
JEREM|AH GLYNN sANFoRD /z/

Diane Smothersl FPD
Defense Attorney

109 South Highland, Ste. B-8
Jackson, TN 38301

 

AMENDED JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1, 2 and 3 of the indictment on January 28, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
rule & section M .Q_o_r_\¢_=M M(J

18 U.S.C. § 922(g) Convicted Felon in Possession of a 01/28/2004 1

Firearm
26 U.S.C. §§ 5822, Possession of a Firearm with a 01/28/2004 2
5861 (c), and 5871 Barrel of Less Than 18-inches in

Length and with an Overa|| Length

of Less than 26-inches
26 U.S.C. §§ 5841, Possession of a Firearm with a 01/28)'2004 3
5861(d), and 5871 Barrel Length Less Than 26»inches

Not Registered to the Defendant in
the Nationa| Firearms Registration
and Transfer Record

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1998

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 05/11/1976 May 05, 2005
Deft’s U.S. Nlarsha| No.: 19927-076

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Defendant’s Mailing Address:
80 HAMLETT RD
HURON, TN 38345

   

2. 974/x
JA|V| . TODD

UN|TED STATES DlSTR|CT JUDGE

|Vlay 90 , 2005

 
 

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 92 Months on each of Counts 1, 2 and 3 of the
|ndictment, to run concurrently with each other and concurrentty with that period of
imprisonment remaining in Henderson County Circuit Court Case No. 04-060.

The Court recommends to the Bureau of Prisons: Defendant be given a
psychological/mental evaluation by the Bureau of Prisons upon beginning of defendant’s
custodial sentence. Such evaluation will concern defendant’s multiple mental/emotional
impairments and how the defendant is to be housed by the Bureau of Prisons and what
services he will require.

The defendant is remanded to the custody of the United States Marshai.

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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SUPERVISED RELEASE

Upon release from im prisonment, the defendant shall be on supervised release for
a term of 3 years as to each of Counts 1, 2 and 3 of the lndictment, concurrently.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised releasel the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDlTlONS OF SUPERV[S|ON

t. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

8. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use.

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendant's compliance with such
notincation requirement

13. if this judgment imposes a fine or a restitution obligaticn. it shaft be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedute of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the Probation Officer until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall participate in a program of mental health treatment as directed by the
Probation Officer until such time as the defendant is released from that program by the
probation officer.

3. The defendant shall cooperate with the United States Probation Oflice in the collection of
DNA.
4. The defendant shall be given a psychological/mental evaluation by the Bureau of Prisons

upon beginning his custodial sentence to determine how the defendant is to be housed by
the Bureau of Prisons and what services he will require.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution cf more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Total Restitution
$300.00

The Specia| Assessment shall be due immediately.
FlNE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:04-CR-10079 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

J ames W. Povvell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

